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                      IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION

JOANN GAMA,                                 §
         Plaintiff,                         §
                                            §
v.                                          §      Cause Number: 7:22-CV-00398
                                            §
IDEA PUBLIC SCHOOLS,                        §
          Defendant.                        §


       NOTICE OF SERVICE OF DEFENDANT’S AMENDED PRIVILEGE LOG

       COMES NOW Defendant IDEA Public Schools (“Defendant”) and files this Notice of

Service of Defendant’s Amended Privilege Log. Defendant hereby notifies the Court that

Defendant has amended its privilege log in accordance with the Court’s Order Denying Plaintiff’s

Motion to Compel Defendant’s Response to Request for Production No. 3 (Dkt. 19) issued on

August 15, 2023. The amended privilege log was timely served on Plaintiff on August 24, 2023,

which is within the 14-day period ordered by the Court.

                                            Respectfully submitted,

                                            SCHULMAN, LOPEZ,
                                            HOFFER & ADELSTEIN, LLP

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      Case 7:22-cv-00398 Document 20 Filed on 08/28/23 in TXSD Page 2 of 2




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                                              ATTORNEYS FOR DEFENDANT
                                              IDEA PUBLIC SCHOOLS




                                 CERTIFICATE OF SERVICE

       On August 28, 2023, the foregoing document was electronically submitted for filing with

the Clerk for the U. S. District Court, Southern District of Texas, using the electronic case filing

system of the Court. Counsel for Plaintiff are registered and will receive notification of electronic

filing via the Court’s CM/ECF system as follows:

       David Willis, David Willis, P.C., 1534 E. 6th Street, Suite 201, Brownsville, Texas 78520,
       (956) 986-2525, Email: dwillis@davidwillispc.com.



                                              /s/ Joseph E. Hoffer
                                              Attorney for Defendant




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